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                  IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF TEXAS
                           SHERMAN DIVISION

INNOVATION SCIENCES, LLC            §
                                    §
              Plaintiff,            §
                                    §
                                    §
     v.                             §
                                    §        NO. 4:18-cv-00476 ALM
HTC CORPORATION,                    §
                                    §
              Defendant.            §
                                    §
                                    §


 MOTION OF DEFENDANT HTC CORPORATION TO TRANSFER VENUE TO THE
                 EASTERN DISTRICT OF VIRGINIA
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       Pursuant to 28 U.S.C. § 1404(a), Defendant HTC Corporation (“HTC”) respectfully

moves to transfer to the District Court for the Eastern District of Virginia (“E.D. Va.”),

Alexandria Division (the “Alexandria Court”), and with a specific request for assignment to

Judge Liam O’Grady. Judge O’Grady has recently presided over cases brought by the original

Plaintiff, Virginia Innovation Sciences, Inc. (“VIS”), alleging infringement against HTC and

others on patents relating to those asserted in this case and overlapping accused technology.

I.     INTRODUCTION

       The critical issues relating to transfer have already been extensively briefed to this Court.

On July 5, 2018, VIS filed the instant case and three others against Amazon, Inc. (“Amazon”)

(4:18-cv-000474-ALM), Honeywell International, Inc. (“Honeywell”) (4:18-cv-00475-ALM),

and Vector Security, Inc. (“Vector”) (4:18-cv-00477-ALM). All three cases involve overlapping

patents with this case and have pending motions to transfer to E.D. Va. that are fully briefed.1

HTC respectfully submits that the arguments herein are largely duplicative of those motions and

that the present motion can and should be considered collectively with the others.              The

arguments and analysis supporting transfer among the parties rise and fall together.

       At the time that each of those motions was filed, the analysis was straightforward—VIS

was a Virginia corporation located five miles from the Alexandria Court, with significant

litigation history in E.D. Va. against HTC, Amazon, and others, and no known connections to

this District. Judge O’Grady presided over multiple cases involving patents related to the

patents-in-suit, gaining substantial familiarity with VIS’s patent portfolio and the technology at

issue here.

1
 The circumstances for which HTC moves to transfer now (and after defendants in related
actions filed their respective motions), including whether HTC was properly served under the
laws of Taiwan and discussions among counsel about dismissing HTC or waiting to see whether
the Court would address transfer in the Vector case during a previously set Rule 16 conference
for early December (since moved to Jan. 3), is explained in more detail in the Ou Declaration.


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       After several adverse rulings from Judge O’Grady, including a finding of invalidity under

35 U.S.C. § 101 on eight related patents in the cases against HTC and Amazon (affirmed by the

Federal Circuit) and summary judgment in favor of Amazon on two other related patents (now

on appeal), and with anticipated and pending motions for attorneys’ fees, VIS switched venues

by filing another round of lawsuits in the Eastern District of Texas (“E.D. Tex.”).

       HTC expects Plaintiff to argue that the asserted patents are “dramatically different than

those at issue” before Judge O’Grady. No defendant alleges that the patent claims here are

identical to those before Judge O’Grady—that is not the proper inquiry and would violate basic

tenets of patent law. However, VIS cannot escape the strong similarities (supported by its own

characterizations and allegations) between the asserted claims here and those previously

considered by Judge O’Grady. For example, patent-in-suit U.S. Patent No. 9,729,918 (“the ’918

Patent”) was previously asserted by VIS in a second lawsuit in E.D. Va. in which VIS

characterized its infringement allegations using identical language to how it characterized

infringement of the eight patents found invalid under § 101 in the first action. As explained infra

Section II.B., Judge O’Grady’s invalidity analysis under § 101 is highly relevant to HTC’s

anticipated invalidity arguments in this case, as the identified claims in the Complaint are

directed to the same abstract idea. Plaintiff may argue inventive concept from differences under

Step 2 of Alice, but the overlap in at least Judge O’Grady’s Step 1 analysis cannot be ignored.

       As this Court is aware, there has also been significant post-Complaint activity by Plaintiff

that impacts the transfer analysis. Specifically, before VIS responded to any motions to transfer

(with a deadline in other cases already extended by six weeks due to VIS’s changing of counsel),

VIS informed HTC on November 28 that VIS had merged into newly-formed Texas corporation

Innovation Sciences, LLC (“Innovation”). Innovation then filed a Motion to Substitute Party




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(Dkt. No. 15) (“Substitution Motion”) on December 6 that was granted the next day (Dkt. No.

18).   Plaintiff’s subsequent transfer responses anchored its opposition in this new Texas

corporation and the purported relocation of Innovation’s “Manager,” Anne Wong. Ms. Wong,

a/k/a Tiehong Wang, was also the President and CEO of VIS and is a named inventor on the

patents-in-suit and the ten patents previously litigated before Judge O’Grady.

       Prior to (1) the merger of VIS into newly-formed Innovation and (2) the “relocation” of

Ms. Wong to Plano—both of which appear to have happened approximately four months after

the filing of the Complaints and a month after the Amazon’s first motion to transfer —VIS could

not reasonably contend that E.D. Tex. was a more convenient forum than E.D. Va. for these

cases. There simply were no connections to this District and substantial connections to E.D. Va.

       The critical question is whether Plaintiff should be allowed to manipulate the venue

analysis four months after filing the Complaint. The Federal Circuit has provided guidance

that—irrespective of Ms. Wong’s motives (i.e., Innovation has claimed that she relocated for tax

reasons)—the recent formation and relocation should not be considered. First, the Federal

Circuit has consistently held that “[m]otions to transfer venue are to be decided based on ‘the

situation which existed when suit was instituted.” In re EMC Corp., 501 F. App’x 973, 976

(Fed. Cir. 2013) (quoting Hoffman v. Blaski, 363 U.S. 335, 343 (1960)). At the time of the

Complaint, VIS owned the patents and existed as a Virginia corporation, and Ms. Wong was still

living in Virginia. Moreover, the Federal Circuit has consistently rejected arguments that recent

incorporation in a district or relocation in anticipation of litigation creates persuasive

convenience of venue. In re Microsoft Corp., 630 F.3d 1361, 1364-65 (Fed. Cir. 2011); see also

In re Zimmer Holdings, Inc., 609 F.3d 1378 (Fed. Cir. 2010); In re Hoffman-La Roche Inc., 587




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F.3d 1333 (Fed. Cir. 2009). There is no question that the circumstances underlying Plaintiff’s

arguments are recent and ephemeral activities.

       Respectfully, the Federal Circuit’s guidance and previous venue analyses show that E.D.

Va. is the more convenient forum for all of the current cases and that transfer should be granted.

II.    STATEMENT OF FACTS

       A.      VIS has no meaningful connection to this district

       Prior to its merger into Innovation, VIS was a Virginia corporation and its principal place

of business had been in Alexandria since 2005. (Dkt. No. 1 ¶ 2). Ms. Wong was VIS’s CEO,

president, treasurer, sole owner, and registered agent, operating the company from her home.

Va. Innovation Scis. Inc. v. Samsung Elecs. Co., 928 F. Supp. 2d 863, 869-70 (E.D. Va. 2013).2

       According to the Substitution Motion, on November 2, 2018, Plaintiff created Innovation

(based in Plano). VIS merged with Innovation six days later. The merger document is executed

by Tiehong Wang for VIS and Ann Wong for Innovation, but both appear to be the same

individual. Dkt. No. 15, Ex. 2. Ms. Wong’s other entity, Virginia E-Commerce Solutions, LLC

(“VECS”), is also a Virginia corporation owned and operated by Ms. Wong from her Virginia

home. Unlike VIS, however, VECS is listed as an active business entity operating out of the

same Alexandria office as VIS when it existed. Ou Decl., Ex. 1 (VECS business filing). Ms.

Wong is the registered agent of VECS and her registered office has the same address. Id.

       HTC is unaware of any evidence that VIS or Ms. Wong had any connections with this

District prior to her formation of Innovation and alleged relocation to Plano. In fact, VIS has

previously argued the convenience of E.D. Va. in opposing a motion to transfer. See Va.


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  Additional evidentiary support for the same factual background has been provided to the Court
in other pending motions to transfer. See, e.g., Virginia Innovation Sciences, Inc. v. Amazon,
Inc., Case No. 4:18-cv-00474-ALM, Dkt. No. 9 at 1-2 (Opposed Motion to Change Venue to the
Eastern District of Virginia); Affidavit of Jeffrey Ware (“Ware Decl.”) and supporting exhibits.


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Innovation Scis, 928 F. Supp. 2d at 869-70; Ou Decl., Ex. 2 (VIS Opp. to Samsung Transfer

Motion). In response to a motion to transfer out of E.D. Va. filed by Samsung in prior litigation,

VIS argued that E.D. Va. “[bore] a significant connection” to the case because VIS had been

there since 2005 and had developed the purported inventions there. (Id. at 5). The court

accepted VIS’s arguments and denied the motion. Va. Innovation Scis., 928 F. Supp. 2d at 873.

Presumably, the same “significant connection” exists for the purported inventions in this case

considering VIS only recently relocated to Texas. Moreover, Plaintiff has offered no evidence

that VECS, Ms. Wong’s other entity, is not still active having a principal office in E.D. Va.

       B.      VIS has already sued HTC in E.D. Va. on related patents and technology and
               Judge O’Grady is best positioned to consider VIS’s latest claims

       VIS filed its first complaint against HTC and its U.S. subsidiary, HTC America, Inc.

(“HTCA”) in February 2016, later amended in May 2016 with additional patents and claims. Ou

Decl., Ex. 3 (VIS-1 Am. Complaint). VIS asserted eight patents: U.S. Patent Nos. 7,899,492,

8,050,711, 8,903,451, 8,948,814, 9,118,794, 8,712,471, 9,286,853, and 9,355,611 (collectively,

“the ’492 Patent Family”) and approximately two hundred claims.            In its Complaint, VIS

confirmed that all of its patents were directed to the same abstract idea of converting data from

one display format to another. For every asserted claim, VIS alleged infringement in the same

way: by “receiving video signals for a mobile terminal and converting those signals to

accommodate reproduction by an alternative display terminal.” Id. (VIS-1 Am. Complaint) at

¶¶25, 38, 51, 64, 78, 91, 92, 105, 118, 119. HTC filed a motion to dismiss the asserted claims as

unpatentable under 35 U.S.C. § 101 (as did Amazon on the same patents), which Judge O’Grady

granted in January 2017 after two separate hearings and two full rounds of briefing (one in each

case). Va. Innovation Scis., Inc. v. Amazon.com, Inc., 227 F. Supp. 3d 582, 586, 604-605 (E.D.

Va. 2017). Judge O’Grady provided a detailed 32 page opinion where he summarized:



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       “VIS owns the rights to a family of patents that cover a method, system, and
       apparatus for transferring video signals from a network to a mobile device and
       then converting those signals in a manner that allows them to be reproduced on an
       ‘alternative display terminal’ (e.g., a television)… the Court finds that VIS’s
       patents are not directed to patent-eligible subject matter under 35 U.S.C. §101…”

       Ou Decl., Ex.4 (§ 101 Memorandum Opinion) at 1.

       In August 2017, VIS filed a second lawsuit against HTC and HTCA in E.D. Va, alleging

infringement of two more patents: U.S. Patent No. 8,135,398 and 9,729,918. The same ’918

Patent is asserted in this case. After HTC raised Rule 11 concerns with VIS’s counsel for its

decision to file a second suit against HTC and HTCA in E.D. Va. considering the Supreme

Court’s recent decision in TC Heartland LLC v. Kraft Foods Grp. Brands LLC, 137 S. Ct. 1514

(2017) (“TC Heartland”) and Judge O’Grady’s finding of invalidity under § 101 of related

patents of similar claim scope, VIS voluntarily dismissed. Ou, Decl. Ex. 5 (VIS-2 Complaint);

Ex. 6 (October 3, 2017 Letter to VIS). Importantly, in the Complaint, VIS characterized the

alleged infringement of the ’918 Patent identically as how it did in the prior case: by “receiving

video signals for a mobile terminal and converting those signals to accommodate reproduction

by an alternative display terminal.” See, e.g., Ou, Decl., Ex. 5 (VIS-2 Complaint), ¶¶ 33, 34.

       Though VIS did not carry over the identical language and infringement characterizations

of earlier filings, the allegations remain the same. For example, ¶ 71 alleges that:

       71. In particular, claim 1 of the ’918 patent recites a mobile terminal configured
       to receive a compressed multimedia signal appropriate for displaying a
       multimedia content, a decoder to decompress the digital signal, an encoder to
       encode the decompressed signal to an encoded signal comprising a decompressed
       high-definition video signal, and wherein the mobile terminal is configured to
       transmit the encoded signal to a destination device through a predetermined
       channel (i.e., a high definitional digital output interface) in conjunction with a
       navigational command.

       Like the asserted claims from the ’492 patent family, VIS continues to allege

infringement based on HTC devices receiving a signal, converting the signal (e.g., with an



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encoder/decoder) for transmission to another display (e.g., the “destination device”).         The

allegations for other claims are nearly identical. Dkt. No. 1, ¶¶ 72 (claim 9) and 73 (claim 99).

VIS will likely point to different elements from the ’492 family such as a “predetermined

channel” but VIS cannot credibly dispute that these claims are directed to the same abstract idea

as the ’492 patent family. Va. Innovation Scis., Inc., 227 F. Supp. 3d at 605 (“The concept of

converting a mobile video signal to an HDTV is an abstract concept, and neither the patents’

individual claims not their ordered combination can save it from that conclusion.”).

        Nor can VIS dispute that its infringement allegations for the ’918 patent are directed to

the same accused functionality as in previous E.D. Va. cases. See, e.g., Complaint, Dkt. No. 1, ¶

76 (“The Accused Instrumentalities convert the received digital video signal for production on a

digital television.”).   For instance, ¶ 77 alleges that “the Accused Instrumentalities can be

mirrored to a digital television by the use of USB-C to HDMI adapter, wirelessly through

Chromecast, or via screen mirroring using Miracast. On information and belief, each of these

methods of mirroring screen content to a digital television involves encoding the decompressed

digital video signal to a format suitable for reproduction on the television.”

        Judge O’Grady already analyzed in detail claims allegedly directed to this technology and

also found them patent ineligible:

        In this respect, VIS’s citation to Claims 28-33 of the ’814 patent does not save its
        argument. These claims describe the “high definition multimedia interface,
        maximum throughput rate, power provision, decoder, [and] encoder,” which, VIS
        argues, all help narrow the scope of the invention. Opp’n at 19. As with the
        claim language from the ’492 patent, however, these claims are cast in purely
        functional terms. The decoder is “configured to perform said decompressing,” the
        encoder is “configured to perform said encoding,” the high-definition multimedia
        interface (HDMI) is “configured to transmit the encoded digital signal,” and the
        maximum throughput rate simply describes the HDMI signal. ’814 Patent. Thus,
        rather than instructing how to achieve the claimed result, the ’814 patent simply
        recites an abstract idea, then lists a series of components and says “configure
        them.” See Alice, 134 S.Ct. at 2357.



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       The overlap in infringement allegations does not just apply to the ’918 patent. VIS

makes the identical infringement allegations with respect to the ’798 Patent.            See, e.g.,

Complaint, Dkt. No. 1, ¶ 49 (identical descriptions of functionality); ¶ 50 (identical allegations

against USB-C to HDMI adapter, Chromecast and Miracast).

       Plaintiff will likely point out that it also alleges infringement based on HTC devices

connecting to Amazon’s Alexa platform. However, the relevant inquiry is not whether there is

complete overlap in accused functionality, but rather whether Judge O’Grady’s experience

analyzing VIS’s patent portfolio and the accused HTC and Amazon technologies weigh strongly

in favor of transfer to E.D. Va. to preserve judicial economy.3 As discussed below, it does.

       C.      HTC has no presence in the Eastern District of Texas

       VIS’s venue allegations are that “[v]enue is proper in this judicial district pursuant to 28

U.S.C. § 1400(b)” and that “HTC is a foreign corporation and may be sued in this judicial

district.” Dkt. No. 1 at ¶ 6. Notably, VIS does not allege that HTC is incorporated in Texas—the

Complaint acknowledges that HTC is foreign company organized and based in Taiwan—or that

HTC has a regular and established place of business in this district as required under § 1400(b).

HTC has no offices or employees in the Eastern District of Texas.

III.   ARGUMENT

       Under 28 U.S.C. § 1404(a), a court may transfer a civil action to another judicial district

for the “convenience of parties and witnesses” and “in the interest of justice.” The threshold

inquiry is “‘whether the judicial district to which transfer is sought would have been a district in

which the claim could have been filed.’” Auto. Body Parts Ass’n v. Ford Glob. Techs., LLC, No.

3
 HTC notes that briefing in the other motions to transfer have identified other similarities
between the asserted claims and those previously considered by Judge O’Grady. See, e.g.,
Virginia Innovation Sciences, Inc. v. Amazon, Inc., Case No. 4:18-cv-00474-ALM, Dkt. No. 28
(Reply to Response to Response to Motion to Change Venue), Gregorian Declaration.


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4:13-cv-705, 2015 WL 123852, at *1 (E.D. Tex. Jan. 7, 2015) (internal citation omitted). Once

that threshold is met, convenience turns on several public and private interest factors. Id. at *3-4.

       “[T]he Fifth Circuit forbids treating the plaintiff’s choice of venue as a factor in the

analysis of a request to transfer for the convenience of the parties.” In re Nintendo Co., 589 F.3d

1194, 1200 (Fed. Cir. 2009). “The ‘consideration of the interest of justice, which includes

judicial economy, may be determinative to a particular transfer motion, even if the convenience

of the parties and witnesses might call for a different result.’” Lifestyle Sols., Inc. v. Abbyson

Living LLC, No. 2:16-cv-01290-JRG-RSP, 2017 WL 5257006, at *4 (E.D. Tex. Nov. 10, 2017)

(quoting Regents of the Univ. of Cal. v. Eli Lilly & Co., 119 F.3d 1559, 1565 (Fed. Cir. 1997)).

       A.      Plaintiff could have filed this case in the Eastern District of Virginia

       VIS filed its previous two patent suits against both HTC and HTCA in E.D. Va. This

second lawsuit, filed after the Supreme Court’s TC Heartland decision, was dismissed after HTC

raised concerns with VIS regarding its Rule 11 basis for filing when HTCA is incorporated and

has its principal place of business in the Western District of Washington. Ou Decl, Ex. 6.

Presumably with TC Heartland in mind, VIS dismissed and elected to only sue HTC (the foreign

parent) in E.D. Tex., arguing that a foreign corporation may be sued for patent infringement in

any district. Under that assumption, VIS could have also brought this case in E.D. Va.

       B.      Plaintiff’s post-Complaint activities that create connections to Texas are
               irrelevant and consideration would be contrary to Federal Circuit precedent

       “Where a plaintiff’s ‘presence in Texas appears to be recent, ephemeral, and an artifact of

litigation,’ courts should not be misled.” Seven Networks, LLC v. Google LLC, No. 2:17-

V00441-JRG, 2018 WL 4026760, at *6 (E.D. Tex. Aug. 15, 2018) (internal citation omitted).

Given the factual record, HTC respectfully submits that any claim by Plaintiff that its

“relocation” after filing suit (and only after defendants provided notice of their intent to move to



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transfer) was completely agnostic of any litigation considerations is, at a minimum, highly

suspicious and strains credibility.

        Regardless of motive, this Court recognizes the Federal Circuit’s instruction that

“motions to transfer venue are to be decided based on ‘the situation which existed when suit was

instituted.’” Adaptix, Inc. v. HTC Corp., 937 F. Supp. 2d 867, 876-77 (E.D. Tex. 2013) (quoting

In re EMC Corp., 501 F. App’x 973, 976 (Fed. Cir. 2013)) (emphasis added). There is no

dispute that at the time of the Complaint (July 5, 2018), Innovation did not exist, VIS was still a

Virginia corporation that owned the patents-in-suit, and Plaintiff had no connections to the

Eastern District of Texas. Rather, VIS, its records, and its sole employee, Ms. Wong, were all

located five miles from the federal courthouse in Alexandria. Plaintiff has not disputed these

facts, and its contention that it is now a Texas company operating out of Ms. Wong’s apartment

in Plano, even if true, is irrelevant to the transfer analysis.

        But even if the Court considers these recent developments, the Federal Circuit and this

District have consistently rejected ephemeral attempts to shift the convenience analysis in favor

of the transferor forum by, e.g., corporate formation or relocation of offices or documents. For

example, in In re Hoffmann-La Roche Inc., a plaintiff “converted into electronic format 75,000

pages of documents demonstrating conception and reduction to practice and transferred them to

the offices of its litigation counsel in Texas.” 587 F.3d 1333, 1337 (Fed. Cir. 2009). The

Federal Circuit there found characterizations of those documents as “Texas” documents to be a

“fiction which appears to have been created to manipulate the propriety of venue.” Regardless of

the timing, a “plaintiff’s attempts to manipulate venue in anticipation of litigation or a motion to

transfer falls squarely within . . . prohibited activities” and must not be credited under 28 U.S.C.

§ 1404(a). Id. (citing Van Dusen v. Barrack, 376 U.S. 612, 625 (1964)).




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        Similarly, in In re Microsoft Corp., plaintiff incorporated in Texas sixteen days before

filing suit and claimed its principal place of business in this District. 630 F.3d 1361, 1364-65

(Fed. Cir. 2011).       Plaintiff Allvoice argued that its incorporation and relocation was

distinguishable from Hoffmann-La Roche. Id. at 1364. The Federal Circuit, however, explained

that it had recently rejected the idea that relocation in anticipation of litigation creates persuasive

convenience of venue. Id. (citing In re Zimmer Holdings, Inc., 609 F.3d 1378 (Fed. Cir. 2010)).

Like In re Zimmer, the relocated offices “staffed no employees, were recent, ephemeral, and a

construct for litigation and appeared to exist for no other purpose than to manipulate venue.” Id.

at 1365. The Federal Circuit added that “[t]he only added wrinkle is that Allvoice took the extra

step of incorporating under the laws of Texas sixteen days before filing suit. But that effort is no

more meaningful, and no less in anticipation of litigation, than the others we reject.” Id. This

Court reaffirmed this principle in Adaptix, 937 F. Supp. 2d at 872, stating that “[a] party’s recent

relocation to a district in order to manipulate venue should not be considered in the Court’s

venue analysis.” In Adaptix, this Court found the plaintiff not an “ephemeral entity” because it

had relocated three years prior and its “executive vice president continues to live and work in

this district.” Id. at 873. Such facts in Adaptix are not today’s reality—nor, more importantly,

the reality when the Complaint was filed. Plaintiff cannot change the ephemeral nature of its

activities and timing related to this litigation.

        C.      This case belongs in the Eastern District of Virginia

                1.      The private interest factors favor transfer

        The private interest factors include: “(1) the relative ease of access to sources of proof;

(2) the availability of compulsory process to secure the attendance of witnesses; (3) the cost of

attendance for willing witnesses; and (4) all other practical problems that make trial of a case

easy, expeditious and inexpensive.” In re Volkswagen AG, 371 F.3d 201, 203 (5th Cir. 2004).


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                       a.     Plaintiff was a Virginia corporation, residing in Virginia at the
                              time the Complaint was filed, and with a residence and
                              business still in Virginia

       Federal Circuit precedent requires a transfer analysis based on the timing of the

Complaint. Plaintiff cannot reasonably dispute that at the time, the relative ease of access to

sources of proof strongly favored transfer. VIS was a Virginia corporation with an office near

the Alexandria courthouse since at least 2005 and witnesses residing in the district. Ms. Wong

may currently reside in Plano, but it is notable that she still owns a Virginia residence, an active

Virginia business operating out of that residence, and does not own any property in this District.

In other words, to the extent her current rental in Plano is relevant (it is not), it would not be

unreasonable to expect that Ms. Wong could easily relocate back to Virginia if the cases were

transferred. Regardless, under EMC Corp., this factor weighs heavily in support of transfer.

                       b.     Compulsory process will secure key trial testimony in E.D. Va.

       A trial subpoena from the Alexandria Court could secure testimony from relevant third-

party witnesses. VIS’s portfolio includes many patents and multiple continuations-in-parts,

resulting in separate patent lines for which the parties will likely dispute priority dates. It may

become necessary to secure testimony from persons knowledgeable about the various

applications and their connection to related patents in the priority chain. Two such persons—

Messrs. Halal (a named inventor) and Tobin (a prosecuting attorney)—appear to reside near

Washington, D.C., which is convenient to and within the subpoena power of the Alexandria

Court. Ou Decl., Ex. 2 (VIS Opp.) at 3. Their testimony may be necessary in establishing

priority dates. Moreover, as of the time of the Complaint, Ms. Wong’s brother, Dr. Tiejun

(Ronald) Wang, the other named inventor on the patents-in-suit, would have been under the

subpoena power of the Alexandria Court as he allegedly lives with Ms. Wong when in the

United States. Plaintiff may argue that her relocation changes these circumstances, but under


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EMC Corp., the transfer analysis is to occur under the operative facts at the time the Complaint

was filed. Here again, this factor weighs in favor of transfer and at worst, is neutral.

                       c.      E.D. Va. is a more convenient forum for witnesses

       As of the filing of the Complaint, no identifiable witnesses were present in this District.

On the other hand, Ms. Wong and her brother (when in the U.S.) lived a few miles from the

Alexandria Court. HTC is headquartered in Taipei, Taiwan, and the cost and burden of travel for

purposes of this analysis is neutral. This factor weighs in favor of transfer.

                       d.      Practical Considerations: judicial economy would be preserved
                               if the Alexandria Court in E.D. Va. hears this case

       “This factor concerns judicial economy, including duplicative suits involving the same or

similar issues that may create practical difficulties.” Lifestyle Sols., 2017 WL 5257006, at *4.

“[J]udicial economy plays a paramount role in trying to maintain an orderly, effective,

administration of justice.” In re Vistaprint Ltd., 628 F.3d 1342, 1346 (Fed. Cir. 2010). Here,

judicial economy will be significantly aided by transfer, given Judge O’Grady’s substantial

familiarity and experience with related patents and overlapping technology (supra Section II.B).

See Invitrogen Corp. v. Gen. Elec. Co., No. 6:08-CV-112, 2009 WL 331891, at *4–5 (E.D. Tex.

Feb. 9, 2009) (transfer is “most appropriate” when one court has extensive familiarity with the

technology or the legal issues and has construed the claims).

       This Court and others have consistently transferred cases to courts that handled earlier

lawsuits with similar patents, technologies, and defendants. See, e.g., Kinetic Concepts, Inc. v.

Medela AG, No. 2:07-CV-187, 2008 WL 112120, at *1–2 (E.D. Tex. Jan. 9, 2008) (transferring

case to court where the judge “ha[d] substantial experience with these parties, and [] invested

time and effort in learning the technology at issue in the case”); In re Eli Lilly and Co., 541 F.

App’x 993, 994 (Fed. Cir. 2013) (transfer to court that had “already conducted discovery, claim



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construction, and ruled on motions for summary judgment involving the same family of

patents”). This factor weighs heavily in favor of transfer.

               2.      The public interest factors favor transfer

       The public interest factors include “(1) the administrative difficulties flowing from court

congestion; (2) the local interest in having localized interests decided at home; (3) the familiarity

of the forum with the law that will govern the case; and (4) the avoidance of unnecessary

problems of conflict of laws.” In re Volkswagen of Am., Inc., 545 F.3d 304, 315 (5th Cir. 2008).

                       a.      Transfer would create no administrative difficulties in E.D. Va.

       This factor considers the time to resolution in the two venues. See Lifestyle Sols., 2017

WL 5257006, at *5. “Generally, this factor weighs in favor of the venue with the faster time to

trial . . . .” Id. The median time to trial for civil cases in E.D. Va. is 12.4 months compared to

19.1 months in this district. Ou Decl., Ex. 7 (Time to Trial for E.D. Va. vs. E.D. Tex.). This

Court regularly relies on such data to assess court congestion. See, e.g., Smith v. Real Page, Inc.,

No. 4:18-cv-00025-ALM, 2018 WL 3105758, at *7 (E.D. Tex. June 25, 2018) (Mazzant, J.).

                       b.      E.D. Va. has a far greater interest in adjudicating this case
                               than this District

       VIS has previously argued that Virginia has an interest in protecting the intellectual

property rights of its residents.” Va. Innovation Scis., 928 F. Supp. 2d at 873 (“jurors in Virginia

have [an] interest in a case involving technologies developed in Virginia by a Virginia

company”). Ms. Wong still owns property in Virginia and was a resident when the Complaint

was filed. By contrast, VIS’s ties to this District are a rental contract and a Texas business filing

that arose months after litigation began.      While Texas residents have an interest in Texas

companies, this reasoning hardly applies to the current situation. This District has comparatively




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little interest in an ephemeral litigation entity with (i) one employee/member, (ii) no apparent

revenue stream, and (iii) a main office in its principal’s alleged rental apartment in Plano.

       Moreover, the ease with which VIS merged itself out of existence and relocated from its

long-time home in Virginia underscores what little connection Plaintiff’s alleged business has to

its place of residence. One employee, and presumably some documents and electronic records,

were moved quickly and in the midst of litigation. With such convenience, Plaintiff could easily

pursue litigation from E.D. Va. (or any other venue). This District should not be burdened with

hearing a case that has no genuine relation to its community. See Volkswagen I, 371 F.3d at 206.

       The Alexandria Court, on the other hand, has already invested substantial time and effort

in VIS’s actions. See U.S. Ethernet Innovations, LLC v. Acer, Inc., No. 6:09-cv-448- JDL, 2010

WL 2771842, at *7 (E.D. Tex. July 13, 2010) (public interest factors include prior choice of

forum and investment of judicial resources). This factor also weighs in favor of transfer.

                       c.      The remaining factors are neutral

       Both this Court and the Alexandria Court are familiar with laws governing patent cases

and are capable of adjudicating the issues. Moreover, this case presently implicates no conflicts

of law. The final two public interest factors are therefore neutral.

IV.    CONCLUSION

       For the foregoing reasons, HTC respectfully requests that the Court grant its motion, and

order this case transferred to the Alexandria Division of the U.S. District Court for the Eastern

District of Virginia, along with a recommendation that it be assigned to Judge Liam O’Grady.




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Dated: December 27, 2018               Respectfully submitted,


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                               CERTIFICATE OF SERVICE

       The undersigned certifies that the foregoing document was filed electronically in

compliance with Local Rule CV-5(a). As such, this document was served on all counsel who

have consented to electronic service on this 27th day of December, 2018. Local Rule CV-

5(a)(3)(A).

                                                      /s/ Yar R. Chaikovsky
                                                      Yar R. Chaikovsky




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                              CERTIFICATE OF CONFERENCE

        I, the undersigned attorney, hereby certify that on December 19, 2018, counsel for the

parties conferred telephonically regarding the present motion and Plaintiff indicated that the

motion was opposed. Counsel subsequently confirmed this position by e-mail on December 27,

2018. The parties also previously discussed the issue of transfer during a teleconference on

November 29, 2018, but at the time agreed that it was in the interest of the parties and in

conserving resources to see whether the Court would provide guidance on the issue of transfer

during the Rule 16 conference in Virginia Innovation Sciences, Inc. v. Vector Security Inc., Case

No. 4:18-cv-00477-ALM that, at the time, was scheduled for Thursday, December 6, 2018, but

subsequently rescheduled for January 3, 2019.



                                                         /s/ Yar R. Chaikovsky
                                                         Yar R. Chaikovsky




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